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DEPARTMENT OF DEFENSE

OFFICE OF GENERAL COUNSEL
1600 DEFENSE PENTAGON
WASHINGTION, DC 20301-1600

23 July 2004

MEMORANDUM DETAILING DEFENSE COUNSEL

TO: Lieutenant Colonel Sharon Shaffer, Major Mark Bridges, Major Michael Mori, LCDR
Philip L. Sundel, LCDR Charles D. Swift

SUBJECT: Detailed Defense Counsel

Consistent with my authority as Chief Defense Counsel and the provisions of sections 4C and 5D
of Military Order No. 1, dated March 21, 2002, and section 3B of Military Commission
Instruction # 4, dated 15 April 2004, the above named counsel are detailed and designated as
follows:

United States v. Al Bahlul
Detailed Defense Counsel: LCDR Philip Sundel
Assistant Detailed Defense Counsel: Major Mark Bridges

United States v. Al Oosi
Detailed Defense Counsel: Lieutenant Colonel Sharon Shaffer

United States v. Hamdan:
Detailed Defense Counsel: LCDR Charles Swift

Unted States v. Hicks:
Detailed Defense Counsel: Major Michael Mori

lyf Aur

Colonel Will A. Gunn, USAF
Chief Defense Counsel
Office of Military Commissions

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